                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 FOOD LION, LLC, and MARYLAND                )
 AND VIRGINIA MILK PRODUCERS                 )
 COOPERATIVE ASSOCIATION,                    )
 INC.,                                       )
                                             )
                      Plaintiffs,            )
                                             )
               v.                            )                 1:20-CV-442
                                             )
 DAIRY FARMERS OF AMERICA,                   )
 INC.,                                       )
                                             )
                      Defendant.             )

                                        ORDER

       The plaintiffs, Food Lion, LLC and Maryland and Virginia Milk Producers

Cooperative Association, have sued the defendant, Dairy Farmers of America, alleging

that DFA’s acquisition of three milk-processing facilities in North and South Carolina

violates federal antitrust law. The plaintiffs seek injunctive relief only pursuant to 15

U.S.C. § 18, also known as Section 7 of the Clayton Act, and 15 U.S.C. § 2, also known

as Section 2 of the Sherman Act. Specifically, the plaintiffs ask for an injunction

requiring DFA to divest at least one of the Carolina facilities to an independent

purchaser.

       DFA moves to dismiss the complaint for lack of subject-matter jurisdiction and for

failure to state a claim. Doc. 30. Upon full consideration of the arguments in the

briefing, the motion will be denied. The complaint plausibly alleges facts giving rise to

subject matter jurisdiction and to plausible claims for relief, and the issues raised by the




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defendant are more suited for evaluation on a better developed factual record. The denial

is thus without prejudice to a motion for summary judgment.

      It is ORDERED that the defendant Dairy Farmers of America, Inc.’s motion to

dismiss, Doc. 30, is DENIED.

      This the 24th day of July, 2020.




                                         _________________________________
                                          UNITED STATES DISTRICT JUDGE




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